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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
V                                                ) CRIMINAL ACTION NUMBER
                                                 ) 1:23-cr-00047-MHC-JEM
KRISTOPHER KNEUBUHLER,                           )
                                                 )
        Defendant.                               )


 CONSENT ORDER MODIFIYING BAIL CONDITIONS TO ALLOW DEFENDANT
                VISITATION WITH HIS CHILDREN
        Defendant Kristopher Kneubuhler has motioned the Court for a modification of his bail
conditions to allow for a maximum of six supervised visits with his children prior to his September
26, 2023 guilty plea. The Government has consented to a modification with specific conditions and
the Court orders as follows:

        Mr. Kneubuhler is only permitted supervised visitation with his children using The
Children’s Advocate. The Children’s Advocate provides off-site supervision allowing parents to visit
with children, usually in high conflict family law cases. Defense counsel has spoken with Dr. Arkeria
Wright who is the founder and CEO. Dr. Wright has been informed about this matter and her
company is willing to provide supervision. Depending on the dates and times of the visitation one of
the following supervisors from The Children’s Advocate shall be present during the allotted time:
Mrs. Jocelyn Gordan-Walker, EdS, Mrs. Tia’nna Carolina, LPN, EdS, Dr. Arkeria Wright. All the
supervisors are educators and have the required training for supervising visitation.

        These visits are limited to twice a week for three hours at a time. They must occur in a
public setting such as a restaurant, park, museum, or someplace similar. All visits shall only occur
within the Atlanta Division of the Northern District of Georgia starting no earlier than 8:00 am and
ending no later than 8:00 pm. At no time shall the visitation occur in any residence. Prior to
visitation, Mr. Kneubuhler must submit in writing to his pretrial officer and The Children’s
Advocate the dates, times, and place(s) he intends to visit with his children. Once approved by
pretrial services, these visits may occur either during the week or on weekends. Mr. Kneubuhler
would be authorized to only travel directly to and directly from each visit without intermediate stops
or detours and each visit shall be at a fixed location (one place per visit).

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       All other conditions of bail shall remain in place that are not mentioned in this order. This
order shall be provided to Dr. Arkeria Wright so her company understands the parameters of the
visitation. At no time shall Mr. Kneubuhler be alone with his children.



                           So ordered this 13th day of September, 2023.




Presented by:                       ___________________________
                                    The Honorable Catherine M. Salinas
s/Lawrence J. Zimmerman
                                    United States Magistrate Judge
Lawrence J. Zimmerman
Attorney for Kneubuhler
SBN: 785198

/s/Steven P. Berne
Steven P. Berne
Attorney for Kneubuhler
SBN: 055020




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